                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
          Plaintiff,                         )
                                             )
 v.                                          )    No. 3:16-cr-00147-10
                                             )
 BRENDA MCGINNIS,                            )
                                             )
          Defendant.                         )

                                         ORDER

         For the reasons stated in the accompanying Memorandum Opinion, Brenda McGinnis’s

Expedited Motion for Compassionate Release (Doc. No. 472), Second Amended Expedited

Motion for Compassionate Release (Doc. No. 506), and Third Amended Expedited Motion for

Compassionate Release (Doc. No. 509) are DENIED.

         IT IS SO ORDERED.

                                          ____________________________________
                                          WAVERLY D. CRENSHAW, JR.
                                          CHIEF UNITED STATES DISTRICT JUDGE




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